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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiff,                                8:12CR391
      vs.
                                                                ORDER
FRANK FIROZ,
                    Defendant.

      This matter is before the court on the defendant’s request for copies of his
criminal docket sheet and a sealed filing (Filing No. 678). The defendant requests the
copies be provided without cost to him because he is indigent. Previously, the court
allowed the defendant to receive copies of certain transcripts without paying costs. See
Filing No. 668.    The defendant pleaded guilty and was sentenced, after which a
judgment entered on January 9, 2015. See Filing No. 593. Another judgment was
entered on January 13, 2015, with regard to forfeiture of currency. See Filing No. 595.
      Other than this motion for copies, the defendant has no motions or cases
pending before this court, and the defendant makes no showing as to why he needs
these documents. Despite the defendant’s previous assertion that he intends to file a
“2255 motion,” he has not filed any substantive motion. Accordingly, the court is not
inclined to order copies of documents made at government expense without a pending
appeal or some showing of need for the documents. See 28 U.S.C. § 753(f); see also
Chapman v. United States, 55 F.3d 390, 390-91 (8th Cir. 1995) (stating any request
for a free transcript prior to the filing of a 28 U.S.C. § 2255 motion is premature). The
defendant may, of course, pay the costs of preparing the copies of the filings.


      IT IS ORDERED:
      The defendant’s request for copies (Filing No. 678) is denied.
      Dated this 10th day of September, 2015.
                                                BY THE COURT:

                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
